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                                                                                           09/04/2020


                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                            v.                         SECOND ORDER TO ROBERT
                                                       “AZZMADOR” RAY
     JASON KESSLER, et al.,

                                       Defendants.     JUDGE NORMAN K. MOON



         In the Court’s Show Cause Order to Defendant Robert “Azzmador” Ray, dated August 27,

  2020, the Court ordered, among other things, that Ray contact Plaintiffs’ counsel no later than

  September 7, 2020. See Dkt. 848 at 2.

         Upon notice that the attorney for Plaintiffs referenced in the Show Cause Order had since

  changed firm affiliation, Dkt. 852, the Court accordingly ORDERS Ray to contact Plaintiffs’

  counsel at (212) 763-0883 or ybarkai@kaplanhecker.com no later than September 9, 2020 at 5:00

  P.M. ET, to get any necessary login or contact information for Ray to participate in a deposition

  upon oral examination by Plaintiffs’ counsel in this case on Monday, September 14, 2020 at 9:30

  A.M. ET. The Court’s Show Cause Order is MODIFIED in only this respect, and remains in full

  effect. Dkt. 848.

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties.

         Entered this 3rd        day of September, 2020.
